Case 2:18-cv-00021-JPJ-PMS Document 60 Filed 04/22/19 Page 1 of 2 Pageid#: 1644



                                                                              4/22/19
                       IN TH E U N ITED STATE S D ISTR ICT CO UR T
                      FO R TH E W ESTER N D ISTR ICT O F V G G IN IA
                               B1G STO N E G A P D W ISIO N

PO TTER IN SU M N CE A G EN C Y,IN C .
and PA TRIC K A .POT TER ,
                                                Case N o.2:18-CV -00021-JPJ-PM S
                Plaintiffs,
                                                Judge:Jam es P.Jones

                                                M agistrate:Judge Pam ela M eade Sargent
NATIONW IDE M U:UAL INSURANCE
 CO M PA NY ,

                D efendant.

                                     g xu .

      JO IN T STIPU LA TIO N O F V O LU N TM W DISM ISSM W ITH PREJUD ICE
       AttherequestofPlaintiffandptlrsuantto FederalRuleofCivilProcedure

41(a)(1)(A)(ii),PlaintiffsPatrickA.PotterandthePotterlnsuranceAgency,Inc.,andDefendant
NationwideM utualInsuranceCompany(collectivelyreferredtoastheGTarties'l,throughtheir
respectivecotmsel,herebystipulatethattheabove-captionedcasebedismissedwithprejudice.
Forthisreason,thePartiesstipulateandagreetodismissthisactionwithprejudice.

       IT IS SO ORDERED .


       Dated: d               Z Z$2$ J7
                                                Judg am esP.Jo s
Case 2:18-cv-00021-JPJ-PMS Document 60 Filed 04/22/19 Page 2 of 2 Pageid#: 1645




 Dated:April16,2019

A GREED :

Respectfully submitted,

/s/Cam eron S.Bell                         lsIPaulC.Beers
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